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                                                EXHIBIT E
                               Case 3:21-cv-05826-RS Document 1-5 Filed 07/29/21 Page 2 of 15



                                                                                                E-FILED
                                                                                                12/5/2019 3:47 PM
                                                                                                Clerk of Court
                           l    RONALD R. ROSSI (SBN 43067)
                                GABRJEL A. RODRJGUEZ (SBN 292911)                               Superior Court of CA,
                          2     ROSSI, HAMERSLOUGH, REISCHL & CHUCK                             County of Santa Clara
                                1960 The Alameda, Suite 200                                     19CV359721
                          3     San Jose, CA 95126-!493                                         Reviewed By: Yuet Lai
                                Tel: (408) 261-4252
                          4     Fax: (408) 261-4292
                                ron@rhrc.net
                          5     gabe{al,rhrc.net
                          6     Attorneys for Plaintiffs Cain Velasquez and Michelle Velasquez

                           7                       SUPERlOR COURT OF THE STATE OF CALIFORNIA

                           8                                 FOR THE COUNTY OF SA,"!TA CLARA

                          9
                                CAIN VELASQUEZ A1'1) MICHELLE                        Case No.: 19CV359721
                          10    VELASQUEZ,
                                                                                     COMPLAINT FOR
                          11                   Plaintiffs,                             1. BREACH OF CONTRACT;
                                                                                       2. :NEGLIGENT CONSTRUCTION;
                          12           vs.                                             3. NTE1'TIONAL
                                                                                          MISREPRESENTATION;
                          13    JESS CASTILLO, an individual, UNEDUS                   4, NEGLIGENT
                                CONCRETE INC., a California Corporation,                  MISREPRESENT ATJON;
                          14    d/b/a CASTILLO CONSTRUCTION. and                       5, FRAUDULENT INDUCEMENT OF
                                DOES 1-10, INCLUSIVE,           .                         CONTRACT FOR HOME
                          15                                                              IMPROVEMENTS; AND
                                               Defendants.                             6. BREACH OF IMPLIED
                          16                                                              COVENANT TO PERFORM
                                                                                          WORK IN GOOD AND
                          17                                                              COMPETENT MANNER; AND
                                                                                 I
                          18                                                     : DEMk'.D FOR JURY TRIAL.
                                                                                 '
                          19

                          20            Plaintiffs Cain Velasquez and Michelle Velasquez (hereinafter "Plaintiffs") allege as

                          21    follows:

                          22                                   PRELIMINARY ALLEGATIONS

                          23            I.     Plaintiffs are residents of Santa Clara County, California and the owner of that

                          24    certain real property and improvements located in the City of Gilroy, County of Santa Clara in

ik>'t.   h,,-n<"'l~of!,   25    the State of California and described as I 0744 Green Valley Drive ("Subject Property").
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                          26            2.     Defendant Jess Castillo does, and at all times relevant to this action, has
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ft., ,<It) ;t,1-l)~l
                          27    represented himself as a licensed general contractor. doing business in Santa Clara County.

                          28     Defendant Uncdus Concrete Inc. is the corporate owner of the fictitious business Castillo
                                  COMPLAINT AND DEMAND FOR JURY TRIAL
                               Case 3:21-cv-05826-RS Document 1-5 Filed 07/29/21 Page 3 of 15




                                Construction. Defendant Jess Castillo is the Chief Executive Officer, Director, and Agent for

                          2     Unedus Concrete Inc. Defendant Castillo presents himself as the President of Castillo

                          3     Construction. In his business dealings v:lth Plaintiffs, Defendant Castillo routinely used email

                          4     addresses related to or otherwise referencing Castillo Construction and Unedus Concrete Inc.

                          5     interchangeably. The address for Defendant Jess Castillo, Unedus Concrete Inc., and Castillo

                           6    Construction is 2215 Liberata Drive, Morgan Hill, California 95037. As such, venue is proper.

                           7            3.     Plaintiffs are ignorant of the true names and capacities, whether individual,

                           8    corporate, associate, or otherwise, of Defendants named herein as DOES 1 through 10,

                           9    inclusive, and therefore sue said Defendants by such fictitious names pursuant to the Code of

                          10    Civil Procedure §474. Plaintiffs will pray leave of CoLm to amend this Complaint to allege

                          11    their true names and capacities when the same have been ascertained.

                          12            4.      Plaintiffs are informed and believe, and thereon allege, that each of the

                          13    fictitiously named Defendants is responsible in some manner for the occurrences herein alleged

                          14    and that Plaintiffs' injuries and damages were proximately caused thereby. As used herein, the

                          15    word "Defendants" shall mean the named Defendants as set forth above and Defendants DOES

                          16    1 through 10. ("Defendants").

                          17            5.      At all times mentioned herein, Defendants were the agents, servants, employees,

                          18    or alter egos of their co-Defendants and were joint venturers with, or co-partners with, or

                          19    sureties for their co-Defendants and were at all times mentioned herein acting within the course

                          20    and scope of said agency, employment, and/or other relationship.

                          21            6.      Plaintiff Cain Velasquez is a well-kno,,n and well-regarded retired heavyweight

                          22    l.JFC fighter fighting out of Gilroy, California. Cain and his wife, Michelle, having purchased

                          23     their dream home, aspired to build a backyard suited to their lifestyle; family friendly,

                          24     luxurious, and a place for their large family and network of friends to enjoy with them. The

~.H:...,,=;sc!,A          25     Velasquezes are a fighting family, but, like most lay persons, they knew little about the
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                          26     construction process. Unfortunately, Plaintiffs were ignorant of all the various ways in which
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'"' ·•0~1 !oi-'i0,
                          27     an unscrupulous contractor can take advantage of the unwary. In order to induce Plaintiffs into

                          28     contract, Defendant Castillo presented himself to Plaintiffs as a licensed general contractor and
                                  C01'-fPLATNT AND DEMAND FOR JURY TRJAL
                               Case 3:21-cv-05826-RS Document 1-5 Filed 07/29/21 Page 4 of 15




                                an expert in the construction field and in luxury landscaping. This was false. Defendant Castillo

                          2     took Plaintiffs on a tour of his home and winery, showing Plaintiffs his luxury landscaping and

                          3     representing to Plaintiffs that they could expect the same quality of\vork for their project. This

                          4     too was false. Defendant Castillo, although a purported expert in construction and luxury

                           5     landscaping, never mentioned that permits would be required for the arbors and gas line. This

                          6      was a shameful and glaring omission.

                           7            7.      On or about February 27, 2015, Plaintiffs and Defendant Castillo on behalf of

                           8     Castillo Construction entered into a written contract ("Construction Contract") in which

                           9     Defendant agreed to provide all labor and materials and to construct a luxury backyard

                          10     renovation consisting of new circular wood arbors, a bocce ball court, pool decking, travertine

                          11     paving, a chessboard retaining wall, Barbeque Island, decomposed granite pathways, a

                          12     fireplace, and an outdoor shower, among other items, in the rear yard of the Subject Property.

                          13     Plaintiffs agreed to pay Defendant in the sum of $321,690 for the project. A copy of the

                          14     Construction Contract, together with the pertinent specifications and scaled rendering provided

                          15     by Landscaping Engineer Karen Aiken. who was referred to Plaintiffs by Defendant Castillo, is

                          16     attached to and incorporated into this complaint as Exhibit "A."

                          17
                                                                    FIRST CAUSE OF ACTION
                          18                              (Breach of Contract Against All Defendants)

                          19
                                        8.      Plaintiff incorporates by reference the allegations of Paragraphs 1 through 7 as
                          20
                                 though set forth in full herein.
                          21
                                        9.      In accordance with the Construction Contract, Defendant Castillo began work
                          22
                                 on or around March 1, 2015. Defendant never completed the project.
                          23
                                         l 0.    Defendant has ar all times failed, refused, and neglected to perform according to
                          24
                                 the terms of the Construction Contract and according to the specifications provided, in that
R;ct, Hl!!>Cr,iO'.I'"-    25
 1u,.,;t:4:<..~l
 i1if,Tb<.<,l>."t>."di:          Defendant failed to acquire the necessary permits for the arbors and gas line, leading to the
      s,.,,:,:~rit
    St~-'= CA             26
    ~)!/t-:41:
  i•<<Si ~>11-•~·~               arbors being red tagged by the County of Santa Clara and for the gas line failing to meet code.
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                          27
                                 Defendant's negligent and careless work also resulted in the following non-exhaustive list of
                          28
                                  COMPLAINT AND DEMAND FOR Jl:RY TRJAL                                                           3
                              Case 3:21-cv-05826-RS Document 1-5 Filed 07/29/21 Page 5 of 15




                               defects:

                        2                   a.        Arbors were built with unsuitable wood for the outdoor structure and need to be

                        3                             replaced entirely to confonn to code;

                        4                   b. Fireplace makes a whistling sound caused by too nanow propane line and needs

                        5                             additional glass to bring it to the proper height;

                        6                   c. Gas line is net buried under the surface to code;
                        7                   d. Sink in the BBQ platform was not bolted, the faucet was installed backwards,

                        8                             and the sink leaked under the island;

                        9                   e. BBQ counter and bar were poorly constructed and need to be reconstructed;

                        10                      f.    Cracks were mediately present in concrete which Defendant Castillo promised

                        li                            to but never repaired;

                        12                      g. Outdoor shower was never installed;

                        13                      h. Stained tiles were used on BBQ platform and need to be replaced;

                        14                      i.    Defendant broke welded side fence for ease of access and never repaired it;

                        15                      j.    Stucco not applied in the appropriate manner;

                        16                      k. Drove 8-inch metal stakes through conduit buried only 6 feet underground;

                        l7                      l.    Installed cracked water bowl, or cracked it after installation and failed to

                        18                            properly secure the bowl to the column;

                        19                      m. Stain color on bocce court does not match;

                        20                      n. Casing on bocce court pillars are not flushed to ground;

                        21                      o. Tile adjacent to pool is sinking;

                        22                      p. Travertine tiiing was installed inconeclly leading to peat mass and unwanted

                        23                            weed growing and necessitating full re-installation;

                        24                      q. Dangerous debris left around the Plaintiffs' yard which was never removed

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                        ':,                           including, but not limited to, unused materials, dirt, pallets of old stone, and
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                        -1                       r.    Prematurely removed pathway from front to back yard and grass.

                        28                11.          On or abom November 16,201 f, PiaintiftS demanded in \\Titing that Defendants
                                 CO'.',!PLAINT AND DEMAND FOR JURY TRIAL                                                                 4
                                Case 3:21-cv-05826-RS Document 1-5 Filed 07/29/21 Page 6 of 15




                                complete the outstanding items and remedy the abovementioned defects, but Defendants failed

                            2   and refused, and continue to fail and refuse, to perform this work.

                            3           !2.     Since this time Plaintiffs have repeatedly demanded in writing and orally that

                            4   Defendant complete the outstanding items and remedy the aforementioned defects, but

                            5   Defendant continues to vacillate, obfuscate, and, ultimately, outright refuses to perform the

                            6   necessary work.

                            7           13.     On November 16, 2017, unable to convince Defendants to take responsibility,

                            8   finish the project according to the Construction Contract, andior make the necessary repairs,

                            9   Plaintiffs filed a complaint with the Contractors State Licensing Board, a copy of which is

                           IO   hereto attached as Exhibit "B". Defendants at first promised to make the necessary repairs and

                           ll   work with Plaintiffs to find a solution but ultimately vacillated, obfuscated, and otherwise

                           12   delayed, failing to complete the project or make the necessary repairs.

                           l3           14.     Plaintiffs have performed all conditions, covenants, and promises under the

                           14   contract to be performed on their part and have paid Defendants in full in the amount of

                           15   $321,690.

                           16           15.     By reason of Defendants' breach of the contract, Plaintiffs have been damaged

                           17   in an amount to be proven at trial, including but not limited to, the amount reasonably expended

                           l8   to pay another contractor to correct Defendants' work and complete Defendants' unfinished

                           19   work, and to secure the necessary permitting to the arbor and gas line and removal of the red

                           20   tags from the arbors.

                           21           \VHEREFORE, Plaintiffs pray for relief against Defendants, and each of them, as more

                           22   fully set forth below.

                           23                                     SECO1''D CAUSE OF ACTION
                                                         (l\egligent Construction Against All Defendants)
                           24
i'.01>,   ;u,.,,<.:oc~t,   25           16.     Plaintiffs incorporate by reference the allegations of Paragraphs I through 15 as
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     s.,,.:~.,,_ CA
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                           26   though set forth in full herein.
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                           27           17.     ln California, a contractor has a nondelegable duty to exercise all due diligence

                           28   to perform ull 0f the \.vork v:hich has been contracted for. to supervise all work performed b;
                                 COMPLAlNT AND DEMAND FOR JURY TRJAL                                                            5
                                    Case 3:21-cv-05826-RS Document 1-5 Filed 07/29/21 Page 7 of 15




                                    his employees. subcontractors, and/or agents, and to do so in a timely and workmanlike

                               2    manner. A contractor is subject to a professional standard of care, meaning that of a reasonable

                                3   tradesman in the contractor's position. Sec e.g. Afi!lr.:r v. Los ,1nge!cs County Flovd Contn;l
                               4    Dist., (1973) 8 Ca!Jd 689. Moreover, Business and Professions Code section 7159, i.e. the
                                5   Contractor's License Law, requires that every home improvement contractor and any person

                               6    sub1ect lo licensesure under the chapter must include specific language in the homebuilding

                                7   contract including, but not limited to, the approximate start date of the work, the contractor's

                                8   insurance inforrnation, what constitutes substantial commencement of work under the contract,

                                9   the approximate completion date, and a schedule of progress payments if payments are to be

                               IO   made before the project is completed. See Business and Professions Code§ 7159 (emphasis

                               Il   added).

                               12             18.   During and as part of his performance of the Construction Contract, Defendant

                               13   Castillo negligently and carelessly performed the work called for uncer the Construction

                               14   Contract and failed to exercise the standard of care of reasonable tradesmen conducting the

                               15   same type of work. Defendant Castillo negligently failed to complete the project in full.

                               16   Defendant Castillo also negligently and carelessly failed to procure the necessary permits for

                               17   the arbors and gas line. In so doing, Defendant Castillo again failed to exercise the standard of

                               18   care of reasonable tradesmen conducting the same type of work. Additionally, Defendant

                               19   Castillo provided Plaintiffs with a Construction Contract that contained none of the

                               20   abovementioned terms required under Business and Professions Code§ 7159.

                               21             19.   Starting in or around November 2017 and continuing up until this time,

                               22   Plaintiffs have repeatedly demanded that Defendants complete the project and make the
                               ?'
                               _j   necessary repairs. Over this time Defendants have vacillated, obfuscated, and otherwise

                               24   delayed, repeatedly promising to correct the defects and make the necessary repairs but

fl,;_,,c)(co.tr,,J;:..,i,1·.   25   ultimately failing to do so.
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                               26             20.   As a proximate result of Defendants· negligence, Plaintiffs have incurred and
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                               27   continue to incur expenses to repair Defendants' negligent work in an amount to be proven at

                               28    trlaL As a further proximate result of Defendants' negligence, Plaintiffs' arbors have been red
                                     C0\1PLA['\T AND DEMAND FOR JURY TRIAi.                                                           6
                            Case 3:21-cv-05826-RS Document 1-5 Filed 07/29/21 Page 8 of 15




                            tagged by the County and they have been unable to move forward with their project, causing

                        2   them to incur and to continue to incur expenses to remedy Defendants' negligent and careless

                        3   failure to procure the necessary permits. Plaintiffs have suffered damages incJuding but not
                                                                                                                  1



                        4   limited to, the cost of repairing and replacing the defective materials and workmanship, costs

                        5   for investigating and testing of such defective materials and workmanship, diminution of fair

                        6   market value of the Subject Property, partial loss of use of the Subject Property, and legal and

                        7   professional costs, as well as other incidental and consequential damages

                        8           WHEREFORE, Plaintiffs pray for relief against Defendants, and each of them, as more

                        9   fully set forth below,
                       IO                                      THIRD CAUSE OF ACTION
                                               (Intentional Misrepresentation Against All Defendants)
                       11

                       12           21.     Plaintiffs incotporate by reference the allegations of Paragraphs I through 20 as

                       l3   though set forth in full herein.

                       14           22,     Defendant Castillo represented to Plaintiffs that he was a licensed general

                       15   contractor and an expert in construction and with luxury landscaping projects such as

                       16   Plaimiffs'. Defendant Castillo went so far as to bring Plaintiffs to his home and winery to show

                       17   off his luxury landscaping, representing that it was the quality of work Plaintiffs could expect if

                       18   they contracted with Defendant Castillo and Castillo Construction.

                       19           23.     Defendant Castillo's representations were false. Defendant Castillo was not a

                       20   licensed general contractor, rather, the contractor's license for #513265 as presented to

                       21   Plaintiffs in the Construction Contract is held by Defendant Unedus Concrete Inc, d/b/a Castillo

                       22   Construction and is classified as a "C-8 Concrete" license, not a general contractor's license,

                       23   which requires a Class B license. In misrepresenting himself to Plaintiffs as a licensed general

                       24   contractor and acting as Plaintiffs' general contractor, Defendant Castillo was acting outside of

~~•" lfam-.,-,Je•i;~   25   the scope of the licensed specialty.
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    ~!'llf,..!,m
                       26           24.     Defendant Castillo knew that the representations were false when he made them,
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F" 111,111~!-./?)
                       27   Delendant Castillo knew that he was not an expert in construction or luxury landscaping.

                       28   Defendant also knew that he was not a licensed general contractor but rather that the license
                             COMPLA!:O:T A:O:D DEMAND FOR JURY TRIAL                                                       7
                             Case 3:21-cv-05826-RS Document 1-5 Filed 07/29/21 Page 9 of 15




                             was held by Unedus Concrete Inc, d1bia Castillo Construction and that it was a C-8 Concrete

                        2    classification, not a Class B general contractor license.

                         3           25.     Defendant Castillo intended that Plaintiffs rely on the representation in order to

                        4     induce Plaintiffs into doing business with him,

                         5           26,     Plaintiffs, inexperienced with construction and unwary of unscrupulous

                         6    contractors such as Defendant Castillo, reasonably relied on Defendant's representations that he

                         7    was a licensed general contractor and an expert in the construction field and building of luxury

                         8    landscaping, particularly after being taken on a tour of Defendant Castillo's property and

                         9    shown his landscaping, ln reasonable reliance, Plaintiffs entered into the construction contract

                        10    with Defendants and paid $321,690 for what was ultimately substandard, negligent, careless,

                        11    and incomplete work,

                        12           27,     As a proximate result of Defendants' intentional misrepresentations, the

                        13    Plaintiffs have been damaged i.t1 an amount according to proof at trial.

                        14           28,     In committing the aforementioned wrongful acts, Defendants acted willfully,

                        15    fraudulently, maliciously, and oppressively with conscious disregard of Plaintiffs' rights, and

                        16    Plaintiffs are therefore entitled to recover exemplary damages in an amount sufficient to deter

                        17    similar conduct in the future by Defendants,

                        18            29,    In accordance with Business and Professions Code section 7031 Plaintiffs also

                        19    seek disgorgement of Defendants' pro ii ls for having performed work outside of the specific

                        20    contractor's license, C-8 Concrete, granted to Defendant Unedus Concrete Inc. dib/a Castillo

                        21    Construction, as if Defendants had no license at alL See Roy Brothers Drilling Co. v, Jones,

                        22    (1981) 123 CaL App 3d 1i5.

                        23            WHEREFORE, Plaintiff prays for relief against Defendants, and each of them, as more

                        24    fully set forth below.

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                        26                                   FOURTH CAUSE OF ACTION
 1~'·'·' ;,,.1-1:i;                               (Negligent Misrepresentation Against All Defendants)
F,~,-l·tj 2f!-l::C,l
                        27
                                      30.     Plaintiffs incorporate by reference the allegations of Paragraphs l through 29 as
                        28
                               CO\IPLAJNT AND OF\lAND FOR !CRY TRIAL                                                         8
                                      Case 3:21-cv-05826-RS Document 1-5 Filed 07/29/21 Page 10 of 15




                                       though set forth in ful I herein,

                                  2            3 I.        When Defendant Castillo made these representations as to his license and
                                  3    experience he had no reasonable ground for believing that the representations were true, a.~d
                                  4    made the representations with the intent to induce Plaintiffs to take the actions herein alleged,
                                  5    and with the intent to induce Plaintiffs to enter into contract with Defendants,
                                  6            WHEREFORE, Plaintiff prays for relief against Defendants, and each of them, as more
                                  7    fully set forth below.
                                  8                                          FIFTH CAUSE OF ACTION
                                        (Fraudulent Inducement of Contract for Home Improvements Against All Defendants)
                                  9

                                 10            32.         Plaintiffs incorporate by reference the allegations of Paragraphs 1 through 31 as
                                       though set forth in full herein,
                                 11

                                 12            33.         On or around February 27, 20 I 5 during the course of the solicitation and

                                 13    negotiation of the Construction Contract, Defendant Castillo falsely and fraudulently, and with

                                 14    the intent   10   deceive and defraud plaintiff, represented that he was a licensed general contractor

                                       and an expert in construction and the building of luxury landscaping,
                                 15
                                 16            34,         The representations made by Defendant Castillo were false, and Defendant

                                 17    knew they were false or had no reasonable ground to believe the representations were true.

                                 18
                                               35.         The truth is that Defendant Castillo was nor a licensed general contractor, rather,

                                       the licer.se held by Defendant Uncdus Concrete Inc. d/b/a Castillo Construction was for a C-8
                                 19
                                       concrete classification, not a Class B general contractor license. Defendant Castillo, as further
                                 20
                                       evidenced by his negligent and careless work, was not an expert in general construction and 1he
                                 21
                                       building of luxury landscaping.
                                 22
                                               36.         As a proximate result of Defendants' intentional misrepresentations, the
                                 23
                                       Plaintiffs have been damaged in an amount according to proof at trial.
                                 24
                                 25            37.         In accordance with the provisions of Section 7160 of the Business and
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                                       Professions Code of the State of California, Plaintiffs seek penalty damages in the amount
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     Stoloot,CA
     %1~1~,~~;
                                 26
   (\C!t) :~1-~2:1
t._,(4Bf):Ol_,h;                       of$500,00, as provided for by such section.
                                 27
                                 28            38.         In accordance with the provisions of Section 7160 of the Business and

                                        COMPLAI\T A\D DEMA\D FOR JURY TRIAL                                                               9
                             Case 3:21-cv-05826-RS Document 1-5 Filed 07/29/21 Page 11 of 15




                              Professions Code of the State of California, Plaintiffs further seek to recover reasonable

                        2     attorneys' fees from Defendants.

                        3
                        4                                        SIXTH CAUSE OF ACTION
                               (Breach of Implied Covenant to Perform Work in Good and Competent Manner Against
                        5                                         All Defendants)
                        6             39.      Plaintiffs incorporate by reference the allegations of Paragraphs 1 through 38 as
                        7
                              though set forth in full herein,
                        8             40.      Defendants failed, refused, and neglected to perform their work under the terms
                         9    of, and according to, the Construction Comract and the specifications provided, in that
                        10     Defendant Castillo failed to acquire the necessary permits for the arbors and gas line, leading to
                        11     the arbors being red tagged by the County as well as failing to fully complete their work in
                        12     substamial conformity witl1 the plans and specifications.
                        13
                                      41.      Plaintiffs were harmed by Defendants' failure in an amount to be proven at trial.
                        14
                                       WHEREFORE, Plaintiff prays for relief against Defendants, and each of them, as more
                        15
                               fully set forth below,
                        16
                        17                                                  PRAYER
                        18
                                       WHEREFORE, Plaintiffs pray as follows:
                        19
                                       1.       For general damages in an amount in excess of the jurisdiction of this coun plus
                        20
                               interest at the legal rate;
                        21
                                       2.       for special damages in an amount according to proof;
                        22             3.       For punitive and exemplary damages in an amount according to proof;
                        23             4.       For disgorgement of profits as provided by Section 703 l of the Business and
                        24
                               Professions Code of the State of California:
                        25
"""' 'la">Ct>lc.lF.
  ~<"-IJ&U..:k                         5.       For a penalty of$500.00 as provided b, Section 7160 of the Business and
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    ~~::~                      Professions Code of the State of California;
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                                       6.       For attorney· s fees and costs incurred herein;
                        28
                                 COMPLAINT A;;D DEM,\;;D FOR JLRY TRJAL                                                        10
                                  Case 3:21-cv-05826-RS Document 1-5 Filed 07/29/21 Page 12 of 15




                                              7.          For ajury trial on all issues triable by a jury in the above-entitled action, and
                              2               8.         For such other and further relief as the court may deem just and proper.
                              3

                              4

                              5
                                   Dated: December 5. 20 I 9                                    ROSSI. HAMERSLOlJGfr'itHSC_HL & CHUCK
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                              6                                                                      ·/ ROXi¼':DR. ROSSI, ESQ
                                                                                                             GABRIEL A. RODRJGUEZ. ESQ
                              7                                                                              Attorneys for Plaint ills Cain Velasquez and
                                                                                                             Michelle Velasquez
                              8
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